                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

        v.                                        Case No. 15-00407-02-CR-W-HFS

 JAMES MACK,

                               Defendant.

       GOVERNMENT=S RESPONSE TO DEFENDANT’S MOTION FOR EARLY
                TERMINATION OF SUPERVISED RELEASE

       Comes now the United States of America, by and through its undersigned counsel, and

responds to Mack’s Motion to Terminate Supervised Release.          The Government states the

following in support of this motion:

       1.      James Mack pled guilty to one count of conspiracy to distribute 100 kilograms or

more of marijuana and one count of money laundering on August 18, 2017. A presentence report

was ordered and sentencing was ultimately set for March 6, 2018. (D.E. 66, 98, and 100.)

       2.      Defendant Mack was sentenced to 60 months on each count, concurrently with each

other, and four years of supervised release on Count One and three years of supervised release on

Count Two, following his release from the Bureau of Prisons, along with the standard conditions

of supervised release, special conditions of supervision, and $100.00 in mandatory special

assessments. (D.E. 100.)

       3.      Defendant Mack filed a motion to terminate his Supervised Release on February

13, 2024 (D.E. 147). On February 20, 2024, Probation filed a memorandum stating they are

against early release of supervision. (D.E.148.) In their memorandum, Probation states that since

Mack submitted a home plan that was acceptable, they have had difficulties contacting Mack at




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the address he is supposed to be living. Probation believes Mack is not being truthful regarding

his residence status. In fairness, Probation also states Mack maintains full time employment and

submits to monthly supervision reports as required. All his drug tests have been negative. Mack

has satisfied all financial obligations and has not incurred any violations of his supervised release.

       4.      Accordingly, the Government is requesting this court deny Mr. Mack’s present

motion for early termination of supervision.

                                          CONCLUSION

       WHEREFORE, for the foregoing reasons, the Government respectfully request this Court

deny Mack’s motion.

                                                        Respectfully submitted,

                                                        Teresa A. Moore
                                                        United States Attorney

                                               By       /s/ Joseph M. Marquez

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was delivered on
February 26, 2024, to the Electronic Filing System (CM/ECF) of the United States District Court
for the Western District of Missouri for electronic delivery to all counsel of record and to the
defendant at the below E-Mail address:


                      MackT467@gmail.com

                                            /s/ Joseph M. Marquez
                                            Joseph M. Marquez
                                            Assistant United States Attorney




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